Case 5:21-cv-00016-EKD-JCH Document 112 Filed 04/06/22 Page 1 of 2 Pageid#: 1981




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                   Harrisonburg Division



   CONSUMER FINANCIAL PROTECTION
   BUREAU; COMMONWEALTH OF
   MASSACHUSETTS; THE PEOPLE OF
   THE STATE OF NEW YORK, by LETITIA
   JAMES, Attorney General of the State of
   New York; and COMMONWEALTH OF
   VIRGINIA, EX REL. MARK R. HERRING,                 Case No.: 5:21-cv-00016-EKD
   ATTORNEY GENERAL,

      Plaintiffs,

      v.

   NEXUS SERVICES, INC.; LIBRE BY
   NEXUS, INC.; MICHEAL DONOVAN;
   RICHARD MOORE; and EVAN AJIN,

      Defendants.



                            NOTICE OF FIRM NAME CHANGE

  TO THE COURT, ALL PARTIES AND THEIR COUNSEL:
           PLEASE TAKE NOTICE THAT, effective March 1, 2022, counsel of record for NEXUS

  SERVICES, INC.; LIBRE BY NEXUS, INC.; MICHEAL DONOVAN; RICHARD MOORE;

  and EVAN AJIN (“Defendants”), Arent Fox LLP, merged with the law firm Schiff Hardin LLP.

  As a result, Defendants’ counsel has been renamed ArentFox Schiff LLP. The law firm’s

  address, telephone number and fax number are unchanged.
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         As a result of the merger, effective immediately, communications with counsel for

  Defendants should be addressed as follows:

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  Dated: April 6, 2022                         Respectfully submitted,


                                                      ARENTFOX SCHIFF LLP

                                                      By: /s/ Adam Bowser
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                                                      Moore; and Evan Ajin
